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     Federal Defender
2    ANN H. VORIS, Bar #100433
     Assistant Federal Defender
3    Designated Counsel for Service
     2300 Tulare Street, Suite 330
4    Fresno, California 93721-2226
     Telephone: (559) 487-5561
5
     Attorney for Defendant
6    JOSE MIGUEL GONZALES
7
8                                    IN THE UNITED STATES DISTRICT COURT
9                                 FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                         )   NO. 1:06-cr-00311 OWW
                                                       )
12                            Plaintiff,               )   STIPULATION TO CONTINUE CHANGE OF
                                                       )   PLEA HEARING, AND ORDER THEREON
13          v.                                         )
                                                       )
14   JOSE MIGUEL GONZALES                              )   Date:    June 18, 2007
                                                       )   Time:    9:00 a.m.
15                            Defendant.               )   Judge:   Hon. Oliver W. Wanger
                                                       )
16                                                     )
17
18               IT IS HEREBY STIPULATED by and between the parties hereto through their respective
19   counsel, that the change of plea hearing in the above-referenced matter now set for May 21, 2007, may be
20   continued to June 18, 2007 at 9:00 a.m.
21               The grounds for the continuance are further defense preparation and investigation, and to allow
22   the parties additional time for plea negotiation. The requested continuance will conserve time and
23   resources for all parties and the court.
24   ///
25   ///
26   ///
27
     Stipulation to Continue Change of Plea Hearing,
28   and [Proposed] Order Thereon
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1             The parties also agree that the delay resulting from the continuance shall be excluded in the
2    interests of justice, pursuant to 18 U.S.C. §§ 3161(h)(8)(A) and 3161(h)(8)(B)(i).
3                                                                  McGREGOR W. SCOTT
                                                                   United States Attorney
4
                                                                  /s/ Ann H. Voris with consent of
5    DATED: May 10, 2007                                       By Laurel J. Montoya
                                                                  LAUREL J. MONTOYA
6                                                                 Assistant U.S. Attorney
                                                                  Attorney for Plaintiff
7
8
9                                                                  DANIEL J. BRODERICK
                                                                   Federal Public Defender
10
11   DATED: May 10, 2007                                      By /s/ Ann H. Voris
                                                                  ANN H. VORIS
12                                                                Assistant Federal Defender
                                                                  Attorney for Defendant
13                                                                JOSE MIGUEL GONZALES
14
15
16                                                   ORDER
17            IT IS SO ORDERED. Time is excluded in the interests of justice pursuant to 18 U.S.C.
18   §§ 3161(h)(8)(A) and 3161(h)(8)(B)(i).
19            IT IS SO ORDERED.
20   Dated: May 17, 2007                              /s/ Oliver W. Wanger
     emm0d6                                      UNITED STATES DISTRICT JUDGE
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     Stipulation to Continue Change of Plea Hearing,
     and [Proposed] Order Thereon                         2
